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CERTIFICATE OF SERVICE

I, Amanda M. Winfree, hereby certify that, on November 14, 2011, I caused one copy of

the foregoing to be served upon the parties on the attached service list in the manner indicated.

Qytom Ce

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